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                                                                                 E-FILED
                                                    Monday, 23 August, 2021 04:32:55 PM
                                                            Clerk, U.S. District Court, ILCD

           IN THE UNITED STATES DISTRICT COURT
           FOR THE CENTRAL DISTRICT OF ILLINOIS
                   SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,              )
                                       )
                Plaintiff,             )
                                       )
     v.                                )      Case No. 19-cr-30035
                                       )
DONALD R. FELTON,                      )
                                       )
                Defendant.             )

                               OPINION

SUE E. MYERSCOUGH, U.S. District Judge:

     Defendant Donald R. Felton is charged with possession of 50

or more grams of methamphetamine with intent to distribute.

Defendant has filed a Motion to Suppress Evidence (d/e 36) in

which Defendant argues that police violated his Fourth Amendment

right to be free from unreasonable searches by installing a tracking

device on his girlfriend’s vehicle without a valid warrant. Defendant

requests that the Court suppress the methamphetamine seized as a

result of the assertedly illegal search or, in the alternative, grant

Defendant a hearing under Franks v. Delaware, 438 U.S. 154

(1978). For the reasons set forth below, Defendant’s motion is

DENIED.


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                           I. BACKGROUND

       On May 23, 2019, Inspector Jeffrey Brown of the Illinois State

Police appeared before Judge Brad Paisley of the Circuit Court of

Christian County, Illinois and submitted a Complaint for Search

Warrant requesting authorization for the placement of a tracking

device on a white Mazda SUV (the “Mazda”) with a specified vehicle

identification number and Illinois license plate number P764768.

See d/e 42, p. 1.

  A.     The Warrant Affidavit

The affidavit submitted in support of Inspector Brown’s warrant

application (the “warrant affidavit”) states that Illinois State Police

conducted an interview with a confidential source (the “CS”) on May

21, 2019. The CS had “provided information which has proven to

be reliable on a number of occasions” in the past and also had “a

criminal history with a felony conviction for burglary.” Id., p. 2.

The CS advised police that “Donald Felton is traveling to the St.

Louis, Mo. Area to purchase ICE methamphetamine” and further

specified that Defendant had taken “several” trips to the St. Louis

area, the most recent of which had taken place approximately two

weeks before the May 21, 2019 interview. Id. According to the CS,


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Defendant was driving his girlfriend’s white SUV to make the trips

to the St. Louis area, purchasing “2 or 3 ounces” of

methamphetamine during each trip, and transporting the

methamphetamine back to Taylorville, Illinois to be sold. Id. The

CS further informed police that Felton had been “pulled over by

police on IL. Rt. 48” on one such trip, that the police found a starter

pistol in the vehicle during the stop, and that after the stop

Defendant decided not to continue his trip and did not purchase

methamphetamine. Id.

     The warrant affidavit also states that, on April 24, 2017, about

two years prior to the CS’s interview with police, Inspector Brown

accompanied probation officers from the Christian County

Probation Office on a home visit to the residence where Defendant

lived with Kourtneigh S. Oats. Methamphetamine was found in the

residence, as well as a digital scale and a number of sandwich bags

with the corners removed. As of the date of the warrant affidavit,

Defendant was awaiting trial on charges related to that 2017 visit.

Defendant was previously convicted of felony possession of

methamphetamine in Christian County in 2015.

     The warrant affidavit further states that on May 16, 2019,


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Inspector Brown drove past Defendant’s residence at 927 W. Poplar

St. in Taylorville, Illinois and observed a white Mazda SUV with

Illinois license plate number P76768 1 in the driveway. Id.

Inspector Brown checked the plate against the Illinois Secretary of

State’s records and found that the vehicle was a 2013 Mazda

registered to Kourtneigh S. Oats, address 927 W. Poplar St. Later,

Inspector Brown reviewed a call log kept by the Christian County

Sheriff’s Office and found that Deputy Goebel had “made a traffic

stop” on the SUV in question at 10:37 p.m. on April 21, 2019, on

Illinois Route 48 near Spresser Street. Id.

       The warrant affidavit also states that on May 22, 2019, the

day after police interviewed the CS and the day before Inspector

Brown requested and obtained the tracking device warrant from

Judge Brad Paisley, Inspector Brown spoke with Deputy Goebel.

Deputy Goebel stated that Defendant was driving the Mazda

southbound on Illinois Route 48 when Deputy Goebel pulled him

over. Deputy Goebel further stated that, upon being pulled over,



1Elsewhere in the warrant affidavit, the warrant itself, and the Government’s briefs, the license
plate number provided for the white Mazda SUV owned by Kourtneigh Oats is given as
“P764768”. The omission of the “4” from the number observed by Inspector Brown in the
driveway of 927 W. Poplar appears to be a typographical error in the warrant affidavit.


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Defendant told Deputy Goebel that Defendant was driving to

Mattoon, Illinois, to purchase a smoker (i.e., a cooking appliance for

smoking meat). According to Deputy Goebel, Defendant had “a

wad” of approximately $2,000 in cash in the vehicle as well as

“what appeared to be a firearm but turned out to be a handgun that

only shot blanks.” Id., pp. 2–3.

  B.      Defendant Asserts That the Warrant Affidavit Contains
          a Number of Falsehoods and Omissions.

       Defendant asserts that the warrant affidavit contains a

number of falsehoods and omissions. The warrant affidavit states

that the CS, Deputy Goebel, and a Christian County Sheriff’s Office

call log all specified that Deputy Goebel performed a “traffic stop” on

Defendant while Defendant was driving. According to Defendant,

however, other records from the Sheriff’s Office “seemingly” show

that Defendant was not pulled over but rather was already parked

at the side of the highway when Deputy Goebel approached him.

D/e 46, p. 10. The Christian County Sheriff’s Office “End of Month

Report” provided by Defendant does classify the encounter as a

“DISABLED/ABANDONED” vehicle incident rather than a “traffic

stop.” See d/e 46–2, p. 5.



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     Defendant also asserts that information that would have been

relevant to Judge Paisley’s evaluation of the CS’s credibility was

omitted from the warrant affidavit. The Government concedes that

Inspector Brown omitted some relevant information that “should

have” been included, including additional information regarding the

CS’s motive for cooperating with police and the CS’s criminal

history. D/e 41, p. 14.

     According to the Government’s Response (d/e 41) to

Defendant’s Motion, the CS was rewarded with cash payments and

“consideration in the prosecution of the CS’ friends.” Id. In a

supplemental affidavit filed along with the Government’s Response,

Inspector Brown states that the CS was paid $345 in cash on June

19, 2019. D/e 43, ¶ 13. Inspector Brown also states in his

supplemental affidavit that the CS “may have assumed” that the CS

would also receive favorable treatment from police regarding 0.6

grams of methamphetamine that police found in the CS’s residence

around the time the CS was interviewed regarding Defendant

Felton. Id.

     The original warrant affidavit also omitted certain facts

regarding the CS’s criminal history, including a number of


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misdemeanor convictions and arrests and one felony charge for

possession of less than 5 grams of methamphetamine that was

pending when the warrant affidavit was submitted.

  C.    A Warrant Was Issued Based on the Warrant Affidavit,
        and Defendant Was Tracked and Arrested.

       Judge Paisley issued the requested tracking device warrant on

May 23, 2019. The warrant authorized police to install a tracking

device on the Mazda and to monitor the location of the vehicle for a

period of 60 days. Thirteen days later, at approximately 3:00 a.m.

on June 5, 2019, Inspector Brown executed the warrant by placing

an electronic tracking device on the Mazda. On June 8, 2019,

police observed that the tracking device was leaving Taylorville and

followed the vehicle to Madison County, Illinois, where the vehicle

made stops at a truck stop and a rest area. When the Mazda

returned to Christian County, Inspector Brown arranged for a

Taylorville Police K-9 unit to effect a traffic stop on the vehicle,

which was being driven by Defendant. After the dog alerted to the

presence of narcotics, police searched the Mazda and discovered a

plastic bag containing a substance that tested positive for

methamphetamine.



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     On June 10, 2019, a Complaint (d/e 1) was filed in this Court

and an arrest warrant for Defendant was issued. Defendant was

detained pending trial and on July 19, 2019, an Indictment was

filed charging Defendant with possession of 50 grams or more of

methamphetamine with intent to distribute in violation of 21 U.S.C.

§§ 841(a)(1) and 841(b)(1)(A)(viii). On February 3, 2021, Defendant,

who was represented by counsel, filed a pro se motion to suppress

the evidence seized as a result of the tracking device warrant issued

by Judge Paisley. See d/e 32. The Court struck Defendant’s pro se

motion on February 5, 2021. See Text Order entered February 5,

2021; Johnson v. United States, 196 F.3d 802, 805 (7th Cir. 1999)

(“A district court is entitled to insist that a represented party file

papers only through counsel.”).

     On April 23, 2021, Defendant filed, through counsel, the

instant Motion to Suppress Evidence. See d/e 36. Defendant

argues that the tracking device warrant was void at the time of

execution because the delay of 13 days between issuance and

execution of the warrant violated state and federal law. Defendant

further argues that the warrant was not supported by probable

cause and that the good faith exception of United States v. Leon,


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468 U.S. 897 (1984), does not apply. For these reasons, Defendant

requests that the Court apply the exclusionary rule and suppress

the controlled substance seized from the Mazda by police. In the

alternative, Defendant requests an evidentiary hearing under

Franks v. Delaware, 438 U.S. 154 (1978), to determine whether

police intentionally or recklessly made materially false statements

in the warrant affidavit. Defendant also requests a non-Franks

evidentiary hearing to “further develop facts.” D/e 36, p. 36.

     The Government filed a Response to Defendant’s Motion on

May 18, 2021. See d/e 41. The Government argues that

Defendant’s Motion should be denied because the installation of the

tracking device warrant was not a search under the Fourth

Amendment, because the warrant was in fact supported by

probable cause, and because police were entitled to rely on the

warrant in good faith even if the warrant was invalid.

On June 17, 2021, Defendant filed a Reply brief in support of his

Motion. See d/e 46. The Government and Defendant have also

each filed a Notice of Additional Authority highlighting relevant

caselaw not included in earlier briefs. See d/e 47, 52.




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                             II. ANALYSIS

  A.     The Lapse of 13 Days Between Issuance and Execution
         of the Warrant Did Not Render the Warrant Invalid.

       Defendant suggests two potential limitation periods governing

the execution of the search warrant at issue. According to

Defendant, one of these time limits is imposed by Illinois statutory

and common law and the other is imposed by the Federal Rules of

Criminal Procedure. Defendant argues that law enforcement’s

failure to execute the warrant within either of these limitation

periods rendered the warrant invalid at the time of execution.

However, neither of the time limits discussed in Defendant’s Motion

affects the constitutionality of the challenged search. Accordingly,

the lapse of 13 days between issuance and execution of the warrant

does not automatically trigger the exclusionary rule.

         1.   The Exclusionary Rule Does Not Apply When Only
              State Law Has Been Violated.

       The Illinois Code of Criminal Procedure states that a warrant

“shall be executed within 96 hours from the time of issuance” and

that “any warrant not executed within such time shall be void and

shall be returned to the court of the judge issuing the same as ‘not

executed.’” 725 ILCS 5/108-6; see People v. Shinohara, 872 N.E.2d


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498, 516 (Ill. App. Ct. 2007) (discussing scope of the “96-hour

rule”).

      However, violations of state law do not invalidate a warrant for

Fourth Amendment purposes. See United States v. Brewer, 915

F.3d 408, 414 (7th Cir. 2019). In United States v. Brewer, 915 F.3d

408 (7th Cir. 2019), law enforcement relied on a warrant issued by

an Indiana state court to install a GPS tracking device on the

defendant’s vehicle. Id. at 412. The warrant authorized monitoring

only “in Indiana,” but law enforcement monitored the defendant on

a trip to California, in violation of the terms of the warrant and

Indiana state law. Id. The Seventh Circuit affirmed the denial of

the defendant’s motion to suppress, holding that “state law does not

by proxy heighten the Fourth Amendment's protections.” Id. at

414. Defendant’s motion to suppress invokes the federal

exclusionary rule, which is “a judicially created remedy designed to

safeguard Fourth Amendment rights generally through its deterrent

effect.” United States v. Calandra, 414 U.S. 338, 354 (1974). The

exclusionary rule does not operate to safeguard rights created by

state laws or state court decisions.




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           2.     There Is No Federal “10-Day Rule” Governing the
                  Execution of Tracking Device Warrants.

       Defendant asserts that federal courts are “governed by a 10-

day rule” which operates to exclude evidence gathered pursuant to

a tracking-device warrant where the installation authorized by the

warrant is not completed within 10 days. Rule 41(e)(2)(C)(i) of the

Federal Rules of Criminal Procedure does state that a tracking-

device warrant must command the executing officer to “complete

any installation authorized by the warrant within a specified time

no longer than 10 days.” Fed. R. Crim. P. 41(e)(2)(C)(i). The

warrant in this case did not contain any such command. See d/e

42, pp. 4–5. While the warrant states that the identified automobile

may be tracked and monitored “for a period of sixty (60) days”

before a new warrant is required,2 the warrant does not explicitly

state any time limit regarding installation. Id.

       However, Rule 41’s requirements do not apply to a warrant

issued by a state judge to state officials. See United States v. Trost,



2 This 60-day time limit is longer than the 45-day period for tracking authorized by Fed. R.

Crim. P. 41(e)(2)(C). However, for the reasons discussed infra, Rule 41’s requirements do not
apply to warrants issued by state court judges to state officials. Furthermore, the challenged
installation and tracking in this case were completed within 45 days of the warrant’s issuance.
Accordingly, the fact that the warrant authorized more than 45 days of tracking is not relevant
to the Court’s determination of Defendant’s Motion to Suppress.


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152 F.3d 715, 722 (7th Cir. 1998). The challenged warrant in this

case was issued by an Illinois state court judge and executed by

state and local police. The fact that state law enforcement officers’

investigation led to federal charges does not mean that the Illinois

State Police were required to obtain a warrant that complied with

the requirements of the Federal Rules of Criminal Procedure.

     Moreover, “technical defects” in a warrant “do not call for or

permit exclusion of what the search produces.” Id. (quoting United

States v. Hornick, 815 F.2d 1156, 1158 (7th Cir. 1987)). The

Seventh Circuit has stated that “it is difficult to anticipate any

violation of Rule 41, short of a defect that also offends the Warrant

Clause of the fourth amendment, that would call for suppression.

Many remedies may be appropriate for deliberate violations of the

rules, but freedom for the offender is not among them.” Id.

     In addition to Rule 41, Defendant also cites United States v.

Jones, 565 U.S. 400 (2012), as authority for the federal “10-day

rule” for the installation of tracking devices. In Jones, the

Government obtained a warrant to install a tracking device on the

defendant’s car and the terms of the warrant authorized installation

within 10 days and in the District of Columbia. Id. at 402–03. The


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Government installed the device on the 11th day in Maryland. Id.

at 403. When the defendant in Jones moved to suppress evidence

from the use of the device, the Government argued “only that a

warrant was not required” rather than arguing that law

enforcement’s failure to abide by the terms of the warrant did not

render the search warrantless. Id. at 403 n.1. Because the

Government there conceded that the challenged search was

warrantless, the issue of the warrant’s validity was not before the

Supreme Court. See id. at 430 n.11 (“In the courts below the

Government did not argue, and has not argued here, that the

Fourth Amendment does not impose these precise restrictions and

that the violation of these restrictions does not demand the

suppression of evidence obtained using the tracking device.

Because it was not raised, that question is not before us.”) (Alito, J.,

concurring). Therefore, the Jones Court did not hold that failure to

execute a warrant within ten days invalidates the warrant.

     No bright line rule operates to automatically void an

unexecuted warrant for purposes of Fourth Amendment analysis

after the lapse of some specific number of days or hours. See

United States v. Sutton, 742 F.3d 770, 774 (7th Cir. 2014)


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(affirming denial of motion to suppress where the defendant

asserted that information more than 72 hours old was too stale to

give rise to probable cause and holding that “there is no bright line

rule for determining staleness”). Nonetheless, the age of the

inculpatory information relied on by police when seeking a warrant

is one of the primary factors used to determine the existence of

probable cause. United States v. Spry, 190 F.3d 829, 836 (7th Cir.

1999); see United States v. Bradford, 905 F.3d 497, 504 (7th Cir.

2018) (weighing age or “staleness” of informant’s information

alongside the other probable cause factors). Accordingly, the lapse

of time between issuance and execution of the warrant is a factor in

the Court’s probable cause analysis.

  B.     The Court Will Not Consider Any Information
         Introduced in Inspector Brown’s Supplemental Affidavit
         that Tends to Support Probable Cause

       Inspector Brown has submitted a supplemental affidavit

(d/e 43) in support of the Government’s Response to Defendant’s

Motion to Suppress. This supplemental affidavit admits that

Inspector Brown omitted some relevant information regarding the

CS’s credibility from the warrant affidavit, specifies what

information was omitted, offers an explanation for why the


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information was omitted, and provides additional information

supporting the CS’s credibility including a detailed history of the

CS’s past cooperation with police. Defendant objects to the

introduction of new evidence to “explain the discrepancies identified

by the defense” if Defendant is not given “a full opportunity to

challenge or rebut this evidence” in a Franks hearing. D/e 46,

p. 12.

     Defendant is correct that not all of the information in

Inspector Brown’s supplemental affidavit can be considered at this

time. Pursuant to United States v. Harris, 464 F.3d 733 (7th Cir.

2006), the Government may not, prior to a Franks hearing, “bolster

the magistrate’s probable cause determination through post-hoc

filings” such as supplemental affidavits explaining or excusing

omissions from the initial warrant affidavit. Id. at 739. Until

Defendant has had an opportunity for cross-examination, the Court

can consider newly introduced facts that militate against a finding

of probable cause but cannot consider new facts or assertions that

support probable cause. United States v. McMurtrey, 704 F.3d

502, 510 (7th Cir. 2013).

     Therefore, in deciding Defendant’s Motion to Suppress, the


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Court will consider the statements in Inspector Brown’s affidavit

that favor Defendant but will not consider any statement favorable

to the Government’s position. The Court will consider Inspector

Brown’s admissions regarding the CS’s compensation and criminal

history, as these admissions prove that relevant information was

omitted from the warrant affidavit. The Court will not consider

Inspector Brown’s stated reasons for omitting information relevant

to the CS’s credibility and will also not consider the supplemental

affidavit’s list of past cases in which the CS provided reliable

information to police.

  C.     The Warrant Was Supported by Probable Cause at the
         Time of Execution.

       Installing a GPS tracking device on a target’s vehicle is a

“search” under the Fourth Amendment, as is the use of such a

device to monitor a vehicle’s movement. See United States v. Jones,

565 U.S. 400, 404 (2012). GPS vehicle monitoring therefore

“generally requires a warrant.” Brewer, 915 F.3d at 413. The

Government argues that, since Defendant did not own the Mazda,

he does not have standing to object to the search. However,

standing to challenge a search requires only a “subjective and



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objectively reasonable expectation of privacy.” United States v.

Walton, 763 F.3d 655, 658 (7th Cir. 2014). An authorized driver of

a car who uses the vehicle in a way that demonstrates that he

understands the vehicle to be under his control has both a

subjective and objective expectation of privacy. See id. at 666

(holding that driver with a suspended license who nevertheless

rented a car had a reasonable expectation of privacy because he

had temporary possession of the vehicle and had authority, as a

practical matter, to “exclude anyone from the vehicle”). Here, the

owner of the Mazda was Defendant’s girlfriend, who had authorized

him to drive it during the months of April, May, and June 2019.

See d/e 46-1. Accordingly, Defendant does have standing to

challenge law enforcement’s installation and use of a tracking

device on the Mazda.

     A search performed pursuant to a valid warrant is

presumptively valid. Archer v. Chisholm, 870 F.3d 603, 613-14

(7th Cir. 2017). A warrant is valid under the Fourth Amendment if

the warrant: (1) is issued by a neutral and disinterested magistrate;

(2) establishes probable cause that the evidence sought in the

warrant will help to secure an arrest or conviction for a particular


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offense; and (3) describes with particularity the place to be

searched. Id. at 614 (citing Dalia v. United States, 441 U.S. 238,

255 (1979)).

     Here, Defendant argues that the warrant was invalid because

the affidavit submitted by Inspector Brown was insufficient to

establish probable cause.    An affidavit establishes probable cause

when it “sets forth sufficient evidence to convince a reasonable

person that a search will uncover evidence of the alleged crime.”

United States v. Bell, 585 F.3d 1045, 1049 (7th Cir. 2009) (citing

United States v. Carmel, 548 F.3d 571, 575 (7th Cir. 2008)). The

determination of probable cause is a “practical, commonsense

decision” in which the judge who issues a warrant takes “all of the

circumstances set forth in the affidavit before him” into account.

United States v. Sewell, 780 F.3d 839, 845 (7th Cir. 2015). The

issuing judge’s finding of probable cause is afforded “great

deference” on review and is upheld as long as the issuing judge

“had a substantial basis to conclude that the search was reasonably

likely to uncover evidence of wrongdoing.” United States v. Aljabari,

626 F.3d 940, 944 (7th Cir. 2010). Accordingly, even “doubtful

cases” are “resolved in favor of upholding the warrant.” United


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States v. Quintanilla, 218 F.3d 674, 677 (7th Cir. 2000) (quoting

Spry, 190 F.3d at 835)

     When an affidavit relies primarily on information obtained

from a confidential informant, as does the warrant affidavit in this

case, the existence of probable cause “turn[s] on the informant’s

credibility.” Bell, 585 F.3d at 1049. The factors used for evaluating

the credibility of an informant are: (1) the extent to which police

have corroborated the informant’s information; (2) the degree to

which the informant acquired his information through first-hand

observation; (3) the amount of detail provided; (4) the age of the

information provided; and (5) whether the informant appeared or

testified before the issuing judge. Id. No one factor in the probable

cause analysis is dispositive, and a strong showing on some factors

can make up for deficiencies elsewhere. Id. Additionally, the

omission from a warrant application of damaging information about

an informant’s credibility weighs against the sufficiency of the

warrant affidavit. See United States v. Musgraves, 831 F.3d 454,

460 (7th Cir. 2016).

     The Government concedes that Inspector Brown should have

disclosed additional credibility information regarding the CS in the


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affidavit, including information regarding the compensation

expected by the CS and information regarding the CS’s pending

felony charge for a methamphetamine-related offense. However, the

omission of such information is not fatal to a warrant affidavit’s

showing of probable cause where the informant’s information is

sufficiently detailed and corroborated. See Bradford, 905 F.3d at

504 (affirming finding of probable cause where informant’s

“information was fresh, firsthand, quite detailed, and

corroborated”); United States v. Hancock, 844 F.3d 702, 705 (7th

Cir. 2016) (affirming denial without Franks hearing of motion to

suppress despite credibility omissions because informant’s account

was “richly detailed” and extensively corroborated).

     Here, the omitted information regarding the informant’s

pending felony charge was relevant and damaging. See United

States v. Clark, 935 F.3d 558, 564 (7th Cir. 2019) (including

pending criminal charges against informant in list of omitted

damaging credibility information). Two other omissions—the fact

that the informant was promised money and “consideration in the

prosecution of the CS’s friends” for information regarding

Defendant, and the fact that the informant may also have been led


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to believe that police would refrain from charging the CS with

possession of the small amount of methamphetamine found in the

CS’s residence in exchange for information—were relevant,

damaging, and concededly known to police. D/e 41, p. 14.         These

omissions weigh against the sufficiency of the warrant affidavit.

The existence of probable cause therefore depends on the showing

the Government makes regarding the freshness and firsthand

nature of the information provided by the CS and included in the

warrant affidavit and on the level of detail and corroboration

provided. See Bradford, 905 F.3d at 504 (finding warrant facially

valid despite omission of credibility information because informant’s

information was “fresh, firsthand, quite detailed, and

corroborated”).

     The information that the CS provided about Defendant’s

alleged methamphetamine purchasing operation contained

considerable detail. The CS told police that Defendant had driven a

white SUV to the St. Louis area multiple times in the past and

would do so again, that the vehicle belonged to Defendant’s

girlfriend, and that Defendant was purchasing 2 or 3 ounces of

methamphetamine on each trip for resale in Taylorville, Illinois.


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The CS also told police that Defendant had been pulled over in the

Mazda on Illinois Route 48 on one such trip and that police had

found a starter pistol in his car.

     Inspector Brown corroborated that Defendant’s girlfriend

owned a white SUV, as the CS had stated, by checking the license

plate number of the Mazda parked in Defendant’s driveway. The

criminal history check that revealed Defendant’s

methamphetamine-related conviction and pending charge provided

further corroboration. Finally, Inspector Brown corroborated the

CS’s story by speaking to Deputy Goebel about the encounter

between Deputy Goebel and Defendant that took place on the side

of Illinois Route 48 on April 21, 2019.

     Deputy Goebel confirmed that Defendant was headed

southbound on Illinois Route 48 in the Mazda when Deputy Goebel

stopped Defendant near Spresser Street at 10:37 p.m. on April 21,

2019. Deputy Goebel also stated that Defendant had approximately

$2,000 in cash and a starter pistol in the car with him and that the

money was for purchasing a smoker. These details corroborate the

CS’s assertion that Defendant had been stopped by police in the

Mazda and that Defendant had a starter pistol with him during the


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stop. Deputy Goebel’s account also corroborates the CS’s claim

that prior to encountering police Defendant was headed to the St.

Louis area to purchase 2 or 3 ounces of methamphetamine.

     Taken together, the corroboration provided gives rise to a

reasonable inference that Defendant was, as the CS asserted,

traveling to purchase methamphetamine in the St. Louis area when

he encountered Deputy Goebel. Defendant’s criminal history also

has corroborative value. See United States v. Olson, 408 F.3d 366,

372 (7th Cir. 2005) (holding that, while defendant’s record of drug

convictions alone could not corroborate informant’s account, it

contributed to the sum of corroborative evidence that cumulatively

established probable cause). Furthermore, Defendant’s possession

of a digital scale and sandwich bags with cut corners gives rise to a

reasonable inference that Defendant was likely engaged in

distributing drugs, as opposed to merely using methamphetamine,

at the time of his 2017 arrest. See, e.g., United States v. Hurn, No.

05-CR-85-S, 2006 WL 6105283, at *1 (W.D. Wis. June 23, 2006)

(relating detective’s statement that “baggie corners commonly are

used to package drugs for resale”); United States v. Chavis, 429

F.3d 662, 670 (7th Cir. 2005) (holding evidence that defendant was


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arrested while in possession of a digital scale, a “tool of the drug

trade[],” admissible under Rule 404(b)).

     Here, the inclusion of a number of relevant, specific, and

corroborated details weighs in favor of probable cause. See United

States v. Mullins, 803 F.3d 858, 863 (finding that the level of detail

provided helped to establish probable cause where informant

specified the race and alias of the target, specified the location of

the apartment where the target stored his drugs, and gave the

make, model, color, and license plate number of the car the target

drove when delivering drugs).

     The age of the inculpatory information contained in a warrant

application is one factor that can weigh in favor of or against a

finding of probable cause. United States v. Spry, 190 F.3d 829, 836

(7th Cir. 1999); see Musgraves, 831 F.3d at 460 (holding that

search warrant lacked probable cause because information

regarding eleven-month-old controlled buy from target was “simply

too stale to justify a search for drugs and related items”).

     The CS’s information regarding Defendant was delivered to

police on May 21, 2019. The encounter between Deputy Goebel and

Defendant occurred on April 19, 2019, and Defendant’s most recent


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trip to the St. Louis area had, according to the CS, occurred roughly

two weeks before May 21, 2019. The warrant was executed on June

5, 2019, meaning that the information relied on was approximately

four to six weeks old at the time of execution.

     The Seventh Circuit has held that “passage of time is less

critical when the affidavit refers to facts that indicate ongoing

criminal activity.” United States v. Harris, 464 F.3d 733, 739 (7th

Cir. 2006) (quoting Spry, 190 F.3d at 836). In United States v.

Pless, 982 F.2d 1118 (7th Cir. 1992), an anonymous informant told

police that the target of a police investigation was making

methamphetamine in the basement of his home. Id. at 1126.

Although corroborated information established that the target in

Pless had been engaged in making methamphetamine more than

three months before, the Seventh Circuit found that the age of the

corroborated information did not cause the affidavit to be “critically

deficient” because the criminal behavior in question was ongoing.

Id. Similarly, in this case the CS provided police with an

uncorroborated present-tense assertion that “Donald Felton is

traveling to the St. Louis, Mo. Area to purchase ICE

methamphetamine” along with older corroborated information


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regarding a past attempted trip to purchase methamphetamine.

D/e 42, p. 2.

     Probable cause existed to believe that Defendant would travel

to the St. Louis area to buy methamphetamine in the Mazda

sometime within a few weeks or months of the execution of the

warrant on June 5, 2019. See United States v. Sutton, 742 F.3d

770, 774 (7th Cir. 2014) (“While evidence of regularity may be

helpful to determine how long a CI's information will remain useful,

it is not a legal requirement. Instead, the affidavits must provide

enough information to lead a reasonably prudent person to believe

a search would be fruitful.”).

     The detailed nature of information provided to police by the CS

and the corroboration of many details of the CS’s information by

police weigh heavily in favor of Judge Paisley’s probable cause

determination. Because the warrant affidavit sets forth a detailed

and extensively corroborated account of Defendant’s scheme, the

Court finds that a substantial basis for a probable cause finding

existed when Judge Paisley issued the warrant on May 23, 2019,

and when the warrant was executed on June 5, 2019.




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  D.     The Court Also Finds That the Good Faith Exception
         Applies to Prevent Suppression of the Evidence Seized
         by Law Enforcement.

       Law enforcement was entitled to rely in good faith on the

issued search warrant. The good faith exception to the exclusionary

rule prevents the suppression of evidence “when an officer acting

with objective good faith has obtained a search warrant from a

judge or magistrate and acted within its scope.” United States v.

Leon, 468 U.S. 897, 920 (1984). An officer's decision to obtain a

warrant generates a presumption that he was acting in good faith.

United States v. Calligan, No. 20-1817, 2021 WL 3447797, at *4

(7th Cir. Aug. 6, 2021).

         1.   Because Probable Cause Existed at the Time of the
              Warrant’s Execution, Official Belief in Probable
              Cause Was Not Unreasonable.

       Defendant argues that the warrant affidavit was so lacking in

probable cause that official belief in probable cause was objectively

unreasonable. “A defendant establishes unreasonable reliance if

‘courts have clearly held that a materially similar affidavit

previously failed to establish probable cause’ or the affidavit is

‘plainly deficient.’” Glover, 755 F.3d at 819 (quoting United States

v. Woolsey, 535 F.3d 540, 548 (7th Cir.2008)).


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     In United States v. Glover, 755 F.3d 811 (7th Cir. 2014), police

omitted damaging information regarding an informant’s credibility

from the affidavit submitted in support of a warrant application.

755 F.3d at 818. The warrant affidavit in this case, however, differs

from the affidavit in Glover in that Inspector Brown’s affidavit

omitted only some information relevant to the informant’s

credibility, included relatively extensive corroboration of the CS’s

information, and informed the issuing judge that “the CS has

provided information which has proven to be reliable on a number

of occasions.” D/e 42, p. 2.

     In Glover, police omitted “all information about the informant’s

credibility,” and the Seventh Circuit found that “[t]he complete

omission of information regarding Doe's credibility is

insurmountable, and it undermines the deference we would

otherwise give the decision of the magistrate to issue the search

warrant.” Id. at 814, 816 (emphasis added). Here, by contrast, only

some information was omitted from the warrant affidavit, which

specified that the CS “has provided information which has proved to

be reliable on a number of occasions” and “has a criminal history

with a felony conviction for burglary.” D/e 42, p. 2.


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     Accordingly, this case is more like United States v. Hancock,

844 F.3d 702 (7th Cir. 2016), than Glover. In Hancock, the Seventh

Circuit affirmed the denial of a Franks hearing where an informant

provided detailed and partially corroborated information regarding a

suspect’s drug sales and police omitted some but not all of the

information they had about the informant’s criminal history. 844

F.3d at 705. The court in Hancock found that the omissions were

not material because of the extensive corroboration provided. Id. at

705–06.

     Here, as in Hancock, the information provided by the CS is

more detailed and has been more extensively corroborated than the

information in Glover, while the affiant omitted only some, rather

than all, of the information he had regarding the CS’s criminal

history and credibility. The corroboration in Glover consisted of a

criminal record check on the suspect and a confirmation that the

suspect lived at the address mentioned by the informant. 755 F.3d

at 817. In this case, by contrast, the CS provided a detailed

account of a recent encounter between Defendant and the police,

which Inspector Brown fully corroborated by speaking with Deputy

Goebel.


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     Furthermore, the court in Glover observed that there was a

chance that the informant was motivated to turn the defendant in

by “gang rivalries.” See id. at 817; see also Bell, 585 F.3d at 1050

(7th Cir.2009) (finding that, where affidavit did not indicate whether

informant had provided information to law enforcement in the past,

possibility that informant was a rival drug dealer trying to remove

competition weighed against validity of warrant).

     Finally, the warrant affidavit in this case, unlike the affidavit

in Glover, informed the issuing judge that the CS had provided

reliable information to police on several past occasions.

        2.   Defendant Is Not Entitled to a Franks Hearing.

     Defendant also argues that he is entitled to a hearing

pursuant to Franks v. Delaware, 438 U.S. 154 (1978). A defendant

is entitled to a Franks hearing if he makes a “substantial

preliminary showing” that the warrant affidavit contained false

statements or omissions and that those statements or omissions

were necessary to the finding of probable cause and were made

intentionally or with reckless disregard for the truth. Here, the

Government admits that Inspector Brown omitted relevant

information regarding the CS’s credibility but denies that the


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omissions were intentional or reckless or material to the probable

cause finding.

       A substantial preliminary showing as to the intentionality or

recklessness of omissions requires either “direct evidence of the

affiant's state of mind or circumstantial evidence that the affiant

had a subjective intent to deceive based on the nature of the

omissions.” Glover, 755 F.3d at 820. This evidence “must show

that the officer submitting the complaint perjured himself or acted

recklessly because he seriously doubted or had obvious reason to

doubt the truth of the allegations.” United States v. Woodfork, 999

F.3d 511, 518 (7th Cir. 2021) (quoting United States v. Johnson,

580 F.3d 666, 670 (7th Cir. 2009)). This is a “substantial” burden,

and Franks hearings are rarely required. Johnson, 580 F.3d at

670.

       In Glover, the Seventh Circuit held that omissions regarding

the informant’s credibility provided sufficient circumstantial

evidence of recklessness in and of themselves to entitle the

defendant to a Franks hearing. Id. However, credibility omissions

in a warrant affidavit “do not require courts to infer recklessness.”

Clark, 935 F.3d at 566 (7th Cir. 2019). Rather, such omissions


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should be analyzed along with any other available state-of-mind

evidence by the trier of fact. Id.

     This case is distinguishable from Glover, again, because police

did include credibility information regarding the informant and

because police corroborated many of the details in the CS’s

account. See Mullins, 803 F.3d at 864 (affirming denial of Franks

hearing despite credibility omissions and distinguishing Glover

because affidavit in Glover was “minimally corroborated”); Hancock,

844 F.3d at 709–10 (affirming denial of Franks hearing and

distinguishing Glover because the specific credibility concerns in

Glover regarding rival gang membership did not apply and because

informant’s information was detailed, specific, and corroborated).

      The inclusion of credibility information also distinguishes this

case from United States v. Clark, 935 F.3d 558 (7th Cir. 2019). In

Clark, as in this case, the informant was “the only source of

information” who said that the defendant was actually dealing

drugs, and the informant’s information was “only second-hand.” Id.

at 567. The Seventh Circuit found that credibility omissions in the

warrant affidavit in Clark were material and created a reasonable

inference that the affiant was being dishonest or reckless and that a


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Franks hearing was required.

     But in Clark, as in Glover, the Seventh Circuit emphasized the

fact that the “warrant application did not include any of the

substantial adverse information [the police affiant] had about the

informant’s credibility.” Clark, 935 F.3d at 565 (distinguishing

Hancock because Hancock involved extensive corroboration and the

omission of some but not all of the adverse informant credibility

information). Inspector Brown’s warrant affidavit mentions the CS’s

“criminal history with a felony conviction for burglary,” as well as

the CS’s history of providing reliable information to police.

Inspector Brown did not portray the CS as a concerned civilian with

no connection to the drug trade. Accordingly, the Court finds that

Defendant has not met the demanding standard for rebutting the

presumption of good faith that arose when Inspector Brown sought

a warrant. See United States v. Ware, No. 20-3264, 2021 WL

3486182, at *3 (7th Cir. Aug. 9, 2021).

     Defendant asserts that, in addition to the omissions of

relevant CS credibility information, Inspector Brown’s affidavit

contained a material misrepresentation regarding the April 2019

“traffic stop” in which police claim Defendant was “pulled over” with


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approximately $2,000 in cash and a starter pistol in his car while

headed southbound on a highway running between Taylorville and

the St. Louis area. Defendant asserts in his Reply brief that police

records show that he was not “pulled over” but that his vehicle was

“already seemingly in an idle position adjacent to the roadway when

the officer engaged him for an incident that fell within the category

of a ‘disabled/abandoned’ vehicle incident.” D/e 46, p. 10.

However, Defendant’s version of events, if substantiated, would not

affect the Court’s probable cause finding.

     To secure a Franks hearing, a defendant bears the burden of

making a substantial preliminary showing that the challenged

intentional or reckless false statements were “material to the finding

of probable cause.” Mullins, 803 F.3d at 861-62 (7th Cir. 2018). To

make such a showing, a defendant must furnish “an offer of proof.”

Franks, 438 U.S. at 171. This requires that “[a]ffidavits or sworn or

otherwise reliable statements of witnesses should be furnished, or

their absence satisfactorily explained.” Id. Here, three

individuals—Defendant, an associate of Defendant’s named Jason

Malone, and Deputy Goebel—were present at the stop or “vehicle

incident” in question, and Defendant has not produced any reliable


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statement from any of these parties as to what occurred during the

April 21, 2019, encounter. Accordingly, the Court finds that

Defendant has not made a substantial preliminary showing that

any falsehood or omission regarding the nature of the April 2019

encounter was material to Judge Paisley’s finding of probable

cause.

  E.     Defendant Is Not Entitled to an Evidentiary Hearing.

       In addition to requesting suppression of the evidence or a

Franks hearing, Defendant also requests an evidentiary hearing to

“further develop facts.” D/e 46, p. 13. However, an evidentiary

hearing on a motion to suppress is “not a matter of course” and is

required only when “there are disputed issues of material fact that

will affect the outcome of the motion.” United States v. Edgeworth,

889 F.3d 350, 353 (7th Cir. 2018) (quoting United States v. Curlin,

638 F.3d 562, 564 (7th Cir. 2011). Here, Defendant has not

identified any disputed issues of material fact that might affect the

outcome of his Motion. To the extent that Defendant has asserted

that the Mazda was not stopped by police but was instead parked

on the side of Illinois Route 48 when Deputy Goebel approached

him, a finding by the Court on this point would not affect the


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outcome of Defendant’s motion.

                        III. CONCLUSION

    For the reasons stated, Defendant Donald Felton’s Motion to

Suppress Evidence and/or Request for a Hearing Pursuant to

Franks v. Delaware (d/e 36) is DENIED.



ENTER: August 23, 2021

                               /s/ Sue E. Myerscough
                               SUE E. MYERSCOUGH
                               UNITED STATES DISTRICT JUDGE




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